Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2898 Page 1 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2899 Page 2 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2900 Page 3 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2901 Page 4 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2902 Page 5 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2903 Page 6 of 7
Case 2:11-cr-00108-EFS   ECF No. 667   filed 03/29/13   PageID.2904 Page 7 of 7
